                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         GREENSBORO DIVISION


DR. DEIRDRE LEANE,

                    Plaintiff,
      v.                                        Civil Action No. 1:21 – CV – 00514

WILLIAM RALPH CARTER, JR.,

                     Defendant.



                      DEFENDANT’S MOTION TO DISMISS

      NOW COMES Defendant William R. Carter, Jr., by and through his undersigned

counsel, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, and hereby

moves the Court to dismiss Plaintiff’s Amended Verified Complaint for failure to state a

claim upon which relief may be granted.           Defendant respectfully submits an

accompanying Brief in Support of Motion to Dismiss Plaintiff’s Amended Verified

Complaint, which is being filed contemporaneously with this Motion.

      Respectfully submitted, this the 3rd day of November, 2021.

                                               SIGMON KLEIN, PLLC

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                                               Attorneys for Defendant




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                           CERTIFICATE OF SERVICE

       The undersigned hereby certifies that this day he served a copy of the foregoing
document on counsel of record by electronically filing same via the ECF System, which
will send notice to all counsel of record as follows:

      Akiva M. Cohen (email: acohen@kusklaw.com)
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      This the 3rd day of November, 2021.


                                              SIGMON KLEIN, PLLC

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                                              Attorney for Defendant




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